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                    United States District Court
                      District of Massachusetts

                                    )
United States of America,           )
                                    )
          v.                        )
                                    )
Gregory Colburn, et al.,            )
                                    )     Criminal Action No.
          Defendants.               )     19-10080-NMG
                                    )
                                    )
                                    )
                                    )


                          MEMORANDUM & ORDER



GORTON, J.

     In July, 2020, this Court dismissed the habeas petition of

defendant Douglas Hodge (“Hodge”).       Hodge filed a Notice of

Appeal on August 17, 2020.     He now requests either

1) clarification that this Court has already certified the

appealability of its denial of his habeas petition or, in the

alternative, 2) that this Court issue a certificate of

appealability.   For the following reasons, this Court will issue

such a certificate for only the following discrete question:

     whether the government violated Mr. Hodge’s
     constitutional right to material, exculpatory
     evidence, and if so, whether that violation undermined
     the integrity of Mr. Hodge’s sentencing hearing such
     that Mr. Hodge is entitled to a re-sentencing.




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I.   Background

     Hodge’s conviction arises out of a case that has been

widely publicized and the facts of which this Court has

recounted several times. See Docket Nos. 1169 and 1334.

Relevant here is the following:

     On October 21, 2019, Hodge pled guilty to conspiracy to

commit mail and wire fraud and honest services mail and wire

fraud and conspiracy to commit money laundering.        Specifically,

at his plea colloquy, Hodge admitted to conspiring with William

“Rick” Singer (“Singer”) to have his children fraudulently

admitted to elite universities by, inter alia, fabricating

college applications, falsifying athletic credentials and

bribing university employees and athletic coaches.         He also

agreed to the statement of facts read by the government, that,

     Hodge understood that some of [his] money would . . .
     be sent to specific programs at USC as a quid pro quo
     inducement to the employees responsible for managing
     those programs.

Docket No. 606 at 12.

     Following his guilty plea, Hodge met with the government

for a proffer interview in January, 2020.       During that

interview, Hodge admitted to knowing that his “side door”

arrangement with Singer, and by extension the athletic coaches,

was a quid pro quo distinct from the legitimate donations

process.   Hodge submitted a sentencing memorandum in February,


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2020 in which he admitted he knew Singer was falsely

representing his own children as athletes and that his payments

would be used as a quid pro quo to induce university employees

to participate in a fraudulent scheme.

     Hodge contends that after he was sentenced and judgment was

entered against him, the government disclosed exculpatory

evidence showing that Hodge and other defendants believed their

payments were donations to universities and not bribes to

individual coaches.    That evidence included testimony from

Singer concerning the college application of Hodge’s fifth

child, purportedly showing that Hodge still believed, after ten

years of working with Singer, that his payments were merely

donations for the benefit of universities.

     In May, 2020, Hodge filed a habeas petition challenging the

constitutionality of his guilty plea and sentencing before this

Court on the ground that the government failed to disclose

material, exculpatory evidence (“Brady material”), including

Singer’s testimony, in a timely fashion in contravention of

Brady v. Maryland, 373 U.S. 83, 86 (1963).       He asserted that the

government’s failure undermined the integrity of his sentencing

hearing and fundamentally altered the plea calculus, rendering

his plea to money laundering involuntary.       Accordingly, Hodge

sought 1) to be resentenced pursuant to 28 U.S.C. § 2255 and

2) to have his plea to the money laundering charge vacated.

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     The government responded by denying all of the material

factual allegations in the petition.

     In July, 2020, this Court denied Hodge’s motions for

resentencing and to vacate his guilty plea and dismissed his

petition for habeas corpus.     In dismissing the petition, this

Court found that the evidence the government purportedly

suppressed 1) was not exculpatory and 2) was duplicative of

other disclosed evidence tending to show that defendants

believed their payments were donations to universities rather

than bribes.   The Court also found the purportedly exculpatory

evidence to be of little consequence to Hodge’s case in light of

Hodge’s admission, made under oath, that he knew his payments

were to be used as a quid pro quo to induce university insiders

to offer his children admission to their universities.         As for

his guilty plea, the Court explained that Hodge had confirmed to

the Court that he had not been induced to plea by any promise or

assurance of any kind, convincing the Court that the plea was

knowing and voluntary.

     Hodge has now moved this Court to 1) clarify that it has

certified the appealability of his § 2255 petition or, in the

alternative, 2) issue a certificate of appealability on the

following issues:

     a) whether the government violated Hodge’s
        constitutional right to material, exculpatory
        evidence, and if so, whether that violation

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           undermined the integrity of Hodge’s sentencing
           hearing such that Mr. Hodge is entitled to a re-
           sentencing and

      b) whether the government’s misconduct, including the
         violation of Hodge’s constitutional right to
         material, exculpatory evidence, rendered Hodge’s
         plea to Count II, Money Laundering Conspiracy, 18
         U.S.C. § 1956(h), involuntary.

II.   Analysis

      A.     Legal Standard

      Section 2253(c) of Title 28 of the United States Code

provides that a Certificate of Appealability may issue “only if

the applicant has made a substantial showing of the denial of a

constitutional right.” 28 U.S.C. § 2253(c)(2).         In order to make

a “substantial showing,” a petitioner seeking a Certificate of

Appealability must demonstrate that

      reasonable jurists could debate whether (or, for that
      matter, agree that) the petition should have been
      resolved in a different manner or that the issues
      presented were adequate to deserve encouragement to
      proceed further.

Slack v. McDaniel, 529 U.S. 473, 484 (2000).         The debatable-

among-jurists-of-reason standard is a low barrier.          A claim is

considered “debatable” even if every reasonable jurist would

agree that the petitioner will not prevail. Miller-El v.

Cockrell, 537 U.S. 322, 338 (2003).       The petitioner must,

however, prove “something more than the absence of frivolity or

the existence of mere good faith.” Id.



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     When a habeas petition contains more than one potential

ground for relief, a court must state which issues, if any,

satisfy the standard set forth in § 2253(c)(2). 28 U.S.C. §

2253(c)(3).

     B.   Application

     Hodge asserts that the suppression of evidence tending to

show that he and other defendants believed their payments were

donations rather than bribes violated his due process rights,

pursuant to Brady v. Maryland, 373 U.S. 83, 86 (1963).         He

submits that the constitutional violation entitles him to 1) be

resentenced and/or 2) have his plea of guilty to money

laundering vacated.

     Although this Court concluded otherwise, it acknowledges

that reasonable jurists could debate whether the suppressed

evidence was exculpatory and, if so, whether its suppression

undermined the integrity of Hodge’s sentencing hearing.

Specifically, the Court finds rising above mere frivolity the

argument that the purportedly suppressed Brady material could

have some bearing on Hodge’s state of mind and relative

culpability in mitigation of punishment, even if every jurist

ultimately disagrees.

     The Court cannot, however, anticipate any debate over the

voluntariness of Hodge’s plea of guilty to conspiracy to commit

money laundering.   The Court is perplexed by his argument that

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the government’s conduct rendered his guilty plea involuntary as

to conspiracy to commit money laundering but not as to

conspiracy to commit wire fraud and honest services fraud, when

all counts are supported by the same underlying unlawful

conduct.     The inconsistency of the argument is heightened by the

fact that Hodge has repeatedly admitted to having made payments

knowingly as part of a quid pro quo to induce university coaches

to participate in a fraudulent scheme.          Furthermore, before

Hodge pled guilty to conspiracy to commit money laundering, he

confirmed to this Court, while under oath, that his plea had not

been induced by any promise or assurance of any kind and that it

was, in fact, knowing and voluntary.         Accordingly, Hodge has not

made the requisite showing that reasonable jurists could debate

whether his plea of guilty to conspiracy to commit money

laundering should be vacated.


                                    ORDER

     In accordance with the foregoing, petitioner’s motion for a

Certificate of Appealability is ALLOWED, in part, and DENIED, in

part.    The Court will grant a Certificate of Appealability with

respect to the issue of

     whether the government violated Mr. Hodge’s
     constitutional right to material, exculpatory
     evidence, and if so, whether that violation undermined



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     the integrity of Mr. Hodge’s sentencing hearing such
     that Mr. Hodge is entitled to a re-sentencing,

but not otherwise.


So ordered.


                                    /s/ Nathaniel M. Gorton
                                    Nathaniel M. Gorton
                                    United States District Judge


Dated September 23, 2020




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